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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:11CR00290-12 JLH

JESSICA LEJEUNE GREENE                                                                 DEFENDANT

                         ORDER MODIFYING BOND CONDITIONS

       Defendant Jessica Lejeune Greene appeared in person with attorney David Cannon, standing

in for attorney Lea Ellen Fowler, for a change of plea hearing on Wednesday, July 18, 2012. The

government was represented by Assistant United States Attorney Stephanie Gosnell Mazzanti.

United States Probation Officers Kimberly Lawson and Lisa Wilson were also present at the hearing.

       Following the acceptance of defendant’s guilty plea to Count 1s of the Superseding

Indictment, the Court determined that defendant would be allowed to remain out on the current bond

conditions in order to return to the chemical-free living program at the Freedom House in Russellville.

       IT IS THEREFORE ORDERED that defendant must successfully find employment and

continue to reside in the chemical-free living program at the Freedom House in Russellville. In the

event the defendant is terminated from the chemical-free living program prior to the sentencing date,

she is directed to self-surrender to the United States Marshals Service to begin serving her term of

imprisonment.

       All other conditions of supervision remain in full force and effect as previously imposed.

       IT IS SO ORDERED this 19th day of July, 2012.


                                                       ___________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
